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     UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                           No. 14-4005

                              Marsha Scherer v. Keh-Shew Lu, et al

                             (Originating Court No. 1-13-cv-00358)

                                           ORDER

In accordance with the agreement of the parties in the above-captioned case, the matter is hereby
dismissed pursuant to Fed. R. App. P. 42(b), without cost to either party. A certified copy of this
order is issued in lieu of a formal mandate.

For the Court,


Marcia M. Waldron, Clerk

Dated: December 23, 2014

Raymond J. DiCamillo, Esq.
Steven J. Purcell, Esq.
Jason J. Rawnsley, Esq.

                                                          A True Copy

                                                                  Marcia M. Waldron, Clerk
                                                          Certified order issued in lieu of mandate.
